                              Case 24-10914-KBO                        Doc 1        Filed 04/30/24            Page 1 of 15

 Fill in this information to identify the case:

  United States Bankruptcy Court for the:


                            District of Delaware
                                        (State)
  Case number (If known):                                       Chapter 11
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Jambys NYC Inc.



 2.   All other names debtor used                 Jambys
      in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names



 3.   Debtor’s federal Employer
                                                  9 3 - 3 0            7    5 3 7 3
      Identification Number (EIN)



 4.   Debtor’s address                            Principal place of business                                Mailing address, if different from principal place
                                                                                                             of business

                                              228             Park Avenue South
                                              Number          Street                                         Number      Street

                                              PMB 49630
                                                                                                             P.O. Box

                                              New York                     NY        10003
                                              City                              State     ZIP Code           City                         State      ZIP Code


                                                                                                             Location of principal assets, if different from
                                                                                                             principal place of business
                                              New York County
                                              County
                                                                                                             Number      Street




                                                                                                             City                        State        ZIP Code




 5.   Debtor’s website (URL)                      www.jambys.com




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
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Debtor        Jambys NYC Inc.                                                                   Case number (if known)
              Name




 6.   Type of debtor                          Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:


                                          A. Check one:
 7.   Describe debtor’s business
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above


                                          B. Check all that apply:

                                              Tax-exempt entity (as described in 26 U.S.C. § 501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                              Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               4    4      8    1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
                                              Chapter 7
      debtor filing?
                                               Chapter 9
                                               Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                           affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                          recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                           income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                             11 U.S.C. § 1116(1)(B).
      check the second sub-box.                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                                A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                              Chapter 12




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                                 Case 24-10914-KBO               Doc 1       Filed 04/30/24              Page 3 of 15

Debtor        Jambys NYC Inc.                                                                Case number (if known)
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
                                                  District                            When                            Case number
      within the last 8 years?            Yes.
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District                            When                            Case number
                                                                                              MM / DD / YYYY


 10. Are any bankruptcy cases             No
      pending or being filed by a
                                                  Debtor Jambys, Inc.                                                 Relationship    Affiliate
      business partner or an              Yes.
      affiliate of the debtor?                    District Delaware                                                   When            04/30/2024
                                                                                                                                      MM / DD / YYYY
      List all cases. If more than 1,
      attach a separate list.                     Case number, if known


 11. Why is the case filed in this      Check all that apply:
      district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have            No
      possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                     Other



                                                 Where is the property?
                                                                             Number          Street




                                                                             City                                                    State    ZIP Code

                                                 Is the property insured?

                                                     No
                                                     Yes. Insurance agency


                                                             Contact name

                                                             Phone




              Statistical and administrative information




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
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Debtor       Jambys NYC Inc.                                                                    Case number (if known)
             Name




                                         Check one:
 13. Debtor’s estimation of
     available funds                          Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.



                                              1-49                                1,000-5,000                              25,001-50,000
 14. Estimated number of
                                              50-99                               5,001-10,000                             50,001-100,000
     creditors
                                              100-199                             10,001-25,000                            More than 100,000
                                              200-999

                                              $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 15. Estimated assets
                                              $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                              $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                              $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


                                              $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 16. Estimated liabilities
                                              $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                              $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                              $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion



             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of             petition.
     debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.



                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on 04/30/2024
                                                            MM / DD / YYYY

                                           /s/ John Ambrose                                               John Ambrose
                                             Signature of authorized representative of debtor              Printed name

                                             Title President and Co-CEO




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 4
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Debtor      Jambys NYC Inc.                                                      Case number (if known)
             Name




 18. Signature of attorney      /s/ Joseph C. Barsalona II                                  Date         04/30/2024
                                  Signature of attorney for debtor                                        MM / DD / YYYY



                                  Joseph C. Barsalona II
                                  Printed name
                                  Pashman Stein Walder Hayden, P.C.
                                  Firm name
                                  1007           North Orange Street, 4th Floor, Suite #183
                                  Number         Street
                                  Wilmington                                                     DE              19801
                                  City                                                           State           ZIP Code

                                  302-592-6497                                                   jbarsalona@pashmanstein.com
                                  Contact phone                                                  Email address



                                  6102                                                           DE
                                  Bar number                                                     State




 Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 5
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                       UNANIMOUS WRITTEN CONSENT
               OF THE BOARD OF DIRECTORS OF JAMBYS NYC INC.
                          Effective Date: April 30, 2024


        The undersigned, being all of the members of the board of directors (the “Board”) of
Jambys NYC Inc., a New York corporation (the “Company”), acting by written consent
without a meeting, agree, pursuant to the Business Corporation Law of the State of New York,
that they consent to and hereby adopt and approve, the following resolutions:

       WHEREAS, the Board has reviewed and considered, among other things, the financial
condition of the Company on the date hereof; and

       WHEREAS, the Board has received, reviewed, and considered the recommendations of
the Company’s legal and other advisors as to the relative risks and benefits of pursuing a
bankruptcy case under the provisions of subchapter V of chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”);

        NOW, THEREFORE, BE IT RESOLVED, that, with respect to the Company, the Board
has determined that it is desirable and in the best interests of the Company, its stockholders,
creditors, and other interested parties that a voluntary petition (the “Petition”) be filed by the
Company under the provisions of subchapter V of chapter 11 of the Bankruptcy Code in the United
States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”); and be it

        FURTHER RESOLVED, that the President and Co-Chief Executive Officer of the
Company, John Ambrose, and any duly appointed officer of the Company (each, an “Authorized
Person”), in each case, acting individually or jointly, be, and each hereby is, authorized,
empowered, and directed, with full power of delegation, to negotiate, execute, verify, deliver, and
file with the Bankruptcy Court, in the name and on behalf of the Company, and under its corporate
seal or otherwise, all petitions, schedules, statements, motions, lists, applications, pleadings,
papers, affidavits, declarations, orders, plans, and other documents (collectively, the “Chapter 11
Filings”) (with such changes therein and additions thereto as any such Authorized Person may
deem necessary, appropriate, or advisable, the execution and delivery of any of the Chapter 11
Filings by any such Authorized Person with any changes thereto to be conclusive evidence that
any such Authorized Person deemed such changes to meet such standard); and be it

        FURTHER RESOLVED, that any Authorized Person, in each case, acting individually
or jointly, be, and each hereby is, authorized, empowered, and directed, with full power of
delegation, in the name and on behalf of the Company, to take and perform any and all further acts
and deeds that such Authorized Person deems necessary, appropriate, or desirable in connection
with the Company’s chapter 11 case (the “Chapter 11 Case”) or the Chapter 11 Filings, including,
without limitation, (i) the payment of fees, expenses, and taxes such Authorized Person deems
necessary, appropriate, or desirable, and (ii) negotiating, executing, delivering, performing, and
filing any and all additional documents, schedules, statements, lists, papers, agreements,
certificates, and/or instruments (or any amendments or modifications thereto) in connection with,
or in furtherance of, the Chapter 11 Case with a view to the successful prosecution of the Chapter

                                                 1
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11 Case (such acts to be conclusive evidence that such Authorized Person deemed the same to
meet such standard); and be it

        FURTHER RESOLVED, that the retention of the law firm of Pashman Stein Walder
Hayden, P.C. (“Pashman Stein”), to represent the Company as bankruptcy counsel on the terms
set forth in its engagement letter with the Company and to represent and assist the Company in
preparing and filing the Petition, the Chapter 11 Filings, and related forms, schedules, lists,
statements, and other papers or documents is hereby approved, adopted, ratified, and confirmed in
all respects; and in connection therewith, any Authorized Person, and each of them, acting either
individually or jointly, are hereby authorized, empowered, and directed, in the name and on behalf
of the Company, to execute appropriate retention agreements, pay appropriate retainers prior to
and immediately upon the filing of the Chapter 11 Case, and cause to be filed an appropriate
application for authority to retain the services of Pashman Stein; and be it

       FURTHER RESOLVED, that the Authorized Persons or any one of them be, and each
hereby is, authorized and empowered to engage such further accountants, counsel, consultants, or
advisors and to do such other acts and things as may be determined to be necessary or appropriate
by the Authorized Person or Authorized Persons so acting in order to fully effectuate the purpose
and intent of the foregoing resolutions and to accomplish the transactions contemplated thereby,
such determination to be conclusively evidenced by the retention or taking of any such action by
such Authorized Person; and be it

       FURTHER RESOLVED, that all of the acts and transactions relating to matters
contemplated by the foregoing resolutions, which acts and transactions would have been
authorized and approved by the foregoing resolutions except that such acts and transactions were
taken prior to the adoption of such resolutions, be, and they hereby are, in all respects adopted,
confirmed, approved, and ratified.


                          [Remainder of Page Intentionally Left Blank]




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         IN WITNESS WHEREOF, the undersigned Board has executed this consent on the dates
set forth below.


/s/ John Ambrose
John Ambrose
Date: April 30, 2024




/s/ Andrew Goble
Andrew Goble
Date: April 30, 2024
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re                                              Chapter 11

 Jambys NYC Inc.,                                   Case No. 24-

                        Debtor.


     CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY HOLDERS

         Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the following are equity holders, other than governmental units, that directly or

indirectly own 10% of more of any class of the Debtors equity interests:

 Name and last known address or place of Percentage of Ownership
 business of holder
 John Ambrose                            50%
 3704 Stone Ct
 Charlotte, NC 28226

 Andrew Goble                                    50%
 333 Schermerhorn St., Apt 30R,
 Brooklyn, NY 11217
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      Fill in this information to identify the case:

      Debtor name   Jambys NYC Inc.
      United States Bankruptcy Court for the:                             District of Delaware
                                                                                   (State)
                                                                                                                                                 Check if this is an
      Case number (If known):                                                                                                                    amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
    Claims and Are Not Insiders                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete              Name, telephone number, and     Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code        email address of creditor       (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                contact                         debts, bank loans,    contingent,   claim amount. If claim is partially secured, fill in
                                                                                professional          unliquidated, total claim amount and deduction for value of
                                                                                services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                      Total claim, if    Deduction for Unsecured
                                                                                                                      partially          value of      claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff

     Settle, Inc.
                                                Attn: Steven Larke
1    200 Pine Street, Suite 200                                                  Loan                 CUD                                                  $1,763,217.28
                                                Email: steven@settle.co
     San Francisco, CA 94104


2




3




4




5




6




7




8



    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 1
                                  Case 24-10914-KBO                 Doc 1           Filed 04/30/24              Page 11 of 15

 Fill in this information to identify the case and this filing:


 Debtor Name     Jambys NYC Inc.
 United States Bankruptcy Court for the:                             District of Delaware
                                                                                 State)

  Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule

              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration          Corporate Ownership Statement




         I declare under penalty of perjury that the foregoing is true and correct.


        Executed on         04/30/2024                        /s/ John Ambrose
                            MM / DD / YYYY                        Signature of individual signing on behalf of debtor




                                                                  John Ambrose
                                                                  Printed name


                                                                  President and Co-CEO
                                                                  Position or relationship to debtor




Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re                                                       Chapter 11

    Jambys NYC Inc.                                             Case No. 24-

                             Debtor. 1


                               VERIFICATION OF CREDITOR MATRIX

            I, the President of the corporation named as the debtor in this case, hereby verify that the

attached list of creditors is true and correct to the best of my knowledge.

Date: April 30, 2024                                                     /s/ John Ambrose
                                                                         John Ambrose
                                                                         Title: President and Co-CEO




1
      The last four digits of the Debtor’s federal tax identification number are 5373. The Debtor’s mailing is 228
      Park Avenue South, PMB 49630, New York, NY 10003.
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Settle, Inc.
200 Pine Street, Suite 200,
San Francisco, CA 94104
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re                                                        Chapter 11

    Jambys NYC Inc.                                              Case No. 24-

                             Debtor. 1


            DECLARATION OF JOHN AMBROSE PURSUANT TO 11 U.S.C. § 1116(1)

                   I, John Ambrose, hereby declare as follows:

                            I am the President and Co-CEO of Jambys NYC Inc. (“Jambys NYC” or

the “Debtor”).

                            As the President and Co-CEO of Jambys NYC, I am familiar with the

Debtor’s business, day-to-day operations, financial affairs, and books and records. Except as

otherwise indicated, the statements set forth in this declaration are based upon my personal

knowledge of the Debtor’s operations, information learned from my review of relevant documents,

information supplied to me from the Debtor’s advisors, or my own opinion based on my

knowledge, experience and information concerning the Debtor’s operations and financial

condition. I am authorized to submit this declaration on behalf of the Debtor. If called to testify,

I could and would testify competently to the matters set forth in this declaration.

                            Pursuant to 11 U.S.C. § 1116(1), I am aware that each Debtor is required to

either: (1) append to its bankruptcy petition its most recent balance sheet, statement of operations,

cash-flow statements and Federal income tax return; or (2) provide a statement that no such balance

sheet, statement of operations, cash-flow statements and Federal income tax return exists.


1
      The last four digits of the Debtor’s federal tax identification number are 5373. The Debtor’s mailing is 228 Park
      Avenue South, PMB 49630, New York, NY 10003.
              Case 24-10914-KBO         Doc 1      Filed 04/30/24   Page 15 of 15




                      The following do not exist: (1) a 2023 balance sheet for the Debtor; (2) a

2023 statement of operations for the Debtor; (3) a 2023 cash flow statement for the Debtor; and

(4) a 2022 Federal tax return for the Debtor.

               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge, information and belief.

Dated: April 30, 2024                           /s/ John Ambrose
       New York, New York                       John Ambrose




                                                  2
